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A091 (Rev. 8/01) Criminal Complaint APR O1 2011

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS David J. Bradiey, Clerk of Court

UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT

 

Glen DIAL _
Esteban St#ve Case Number: Cl -US | mM
ESteparx ESPINOZA
(Ordered amended 4/1711)
Luz RAMIREZ
I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about 3/31/2011 in Kenedy County, in the
(Date)
Southern District of Texas, the defendant(s) Glen DIAL
Esteban StevesQtaveipestebar ESPINOZA
Luz RAMIREZ

did knowingly and intentionally conspire and agree together and with each other: to knowingly and intentionally
possess with intend to distribute a controlled substance, that is approximately 567 kilograms of marijuana, a
Schedule | Controlled Substance,

in violation of Title 21 United States Code 846

 

| further state that | am a(n) Special Agent and that this complaint is based on the
following facts: Official Title

See Attached Affidavit of ICE Special Agent Rodney Breese
Continued on the attached sheet and made a part of this complaint: Yes [] No

ee LD

Signature of Complainant

Rodney Breese
Printed Name of Complainant

Sworn to before me, signed in my presence and probable cause found on,

April 1, 2011 at Corpus Christi, Texas

Date é
Signature of Judicial Officer 4

 
   

Bryan Owsley U.S. Magistrate Judge
Name and Title of Judicial Officer

 

U.S. Department of Homeiand Security
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Affidavit

On March 31, 2011, at approximately 1500 hrs, agents from the ASAC/Corpus Christi HSI office received information
from Texas Parks and Wildlife concerning a suspicious vessel that was located at the Hubert Koffner boat ramp located
in Riviera, TX. Officers from the Texas Parks and Wildlife Service told agents that they had made contact with the
suspect vessel in order to conduct a regulatory inspection and while doing so noticed that there were irregularities in the
decking of the suspect vessel. A canine unit from the Kingsville Task Force was contacted and responded to the scene.
A subsequent free air sniff from the canine unit resulted in a positive alert to the hull of the suspect vessel. Further
inspection by the Texas Parks and Wildlife officers revealed 156 bundles of marijuana weighing a total of 567 kgs of
marijuana. The operator of the vessel, identified as Glen DIAL, and the passenger, identified as Johnny OWEN, were
detained pending further investigation. The vessel, truck, and two subjects that had been detained were then
transported to the Texas Parks and Wildlife office located in Riviera, TX for further processing.

Prior to the Texas Parks and Wildlife officers discovering the narcotics concealed within the hull of the vessel, agents
from the Kingsville Task Force commenced surveillance of the park in order to determine if there were any other
suspicious vehicles in the area. Initially agents did not observe any vehicles in the area, but as agents moved the vessel
and truck to the Texas Parks and Wildlife Office, agents were able to identify a green Ford Expedition with two
individuals inside following them towards the Texas Parks and Wildlife Office. Agents from the Task Force felt that
this was suspicious and followed the vehicle to a secluded fishing area of the park. Upon arrival, agents from the
Kingsville Task Force approached the individuals in order to identify them. The individuals were identified as Luz
RAMIREZ and Steve ESPINOSA. Agents asked the individuals what they were doing at the park and they stated that
they were there to go fishing but did not have any equipment to do so within their vehicle. After speaking with other
agents from the Kingsville Task Force it was determined that ESPINOSA’s truck had been observed at an earlier date’
towing the same boat trailer that was currently detained with the vessel that contained the narcotics. Agents felt that
these individuals were connected and then detained RAMIREZ and ESPINOSA and transported them to the Texas
Parks and Wildlife Office located in Riviera, TX. Upon arrival at the Texas Parks and Wildlife Office agents were able
to determine that there had been numerous phone calls placed between the phones of RAMIREZ, ESPINOSA and
DIAL. All of the subjects were then transported to the Kingsville Police Department for interviews.

Upon arrival at the Kingsville Police Department all four of the subjects were read their Miranda Warning which they
each signed stating that they were willing to make a statement without the presence of an attorney.

The first subject that was interviewed was the operator of the vessel, Glen DIAL. DIAL stated that he and J ohnny
OWEN had travelled down to Roma, TX on the night prior to agents discovering the narcotics concealed within the
vessel. Upon arrival in Roma, TX they had gone to a warehouse were the vessel was kept and met with Luz
RAMIREZ. RAMIREZ had then told him that the vessel was not ready yet and took them to the Roma Hotel to wait
until the following morning. At approximately 4:30 in the moming RAMIREZ arrived and took them back to the
warehouse where the vessel was waiting with a truck and trailer. DIAL and OWEN then got in the truck and trailer and
headed towards Port Mansfield, Texas where they were to launch the vessel and head to Riviera, TX. DIAL also stated
that there was approximately $600.00 in the truck to cover fuel and expenses for the trip. DIAL went on to state that
upon arrival in Riviera, TX another truck and trailer would be waiting and that he was to load the vessel on to the trailer
and drive to Houston where he would be given directions by RAMIREZ as to where he was supposed to go. DIAL
stated that this was his fifth trip smuggling narcotics to Houston and that he was to be paid approximately $9000.00 -
$10,000 per trip. Agents asked DIAL as to what OWENS’ role in the smuggling venture was and he stated that OWEN
did not have any knowledge of the narcotics being concealed within the vessel but that if he were to become Suspicious
he would offer to pay him $500.00 - $1000.00 to be quiet. Agents then asked DIAL about Steve ESPINOSA and what
his role in the smuggling venture was. DIAL explained that ESPINOSA had been to his mechanics shop and paid for
repairs to the trailer on a prior trip and that on a couple of occasions ESPINOSA had paid for his trip down to Roma,
TX to pick up the vessel and narcotics. DIAL also stated that he had made phone calls to both RAMIREZ and
ESPINOSA during the smuggling venture to check in and let them know his status. The phone calls were verified by
agents from the ASAC/CC HSI office.

An interview of Johnny OWEN verified the information that DIAL had given. OWEN stated that he was suspicious
that there might be narcotics concealed within the vessel when they arrived in Roma, TX, but had no prior knowledge
that there was. Owen then stated that upon arrival in Riviera, TX, prior to being approached by Texas Parks and
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Wildlife, RAMIREZ and ESPINOSA had made contact with him and asked what had taken so long and if everything
went OK. RAMIREZ then told OWEN to tell DIAL to meet them at the IHOP Restaurant in Kingsville, TX, but to
take the long way there. No further exculpatory statements were made by OWEN.

Both RAMIREZ and ESPINOSA were interviewed but denied any knowledge or connection to the narcotics smuggling
venture,

Assistant United States Attomey Lance Watt of the Southern District of Texas was contacted and agreed to accept
prosecution of DIAL, RAMIREZ, and ESPINOSA for a violation of 21 USC 846, conspiracy with intent to distribute a
schedule I controlled substance. The amount of marijuana and the actions of the suspect infers distribution. OWEN

was released pending further investigation.

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Rodney Breese Special Agent
Homeland Security Investigations

  

 

 
  

Honorable Bryan Owsley
United States Magistrate Judge
